Case 6:23-cv-01903-JA-EJK Document 1-7 Filed 10/02/23 Page 1 of 7 PageID 56




                  EXHIBIT F
Case 6:23-cv-01903-JA-EJK Document 1-7 Filed 10/02/23 Page 2 of 7 PageID 57
Case 6:23-cv-01903-JA-EJK Document 1-7 Filed 10/02/23 Page 3 of 7 PageID 58
Case 6:23-cv-01903-JA-EJK Document 1-7 Filed 10/02/23 Page 4 of 7 PageID 59
Case 6:23-cv-01903-JA-EJK Document 1-7 Filed 10/02/23 Page 5 of 7 PageID 60
Case 6:23-cv-01903-JA-EJK Document 1-7 Filed 10/02/23 Page 6 of 7 PageID 61
Case 6:23-cv-01903-JA-EJK Document 1-7 Filed 10/02/23 Page 7 of 7 PageID 62
